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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )           8:05CR138
                     Plaintiff,                    )
                                                   )
       vs.                                         )            ORDER
                                                   )
GUSTAVO AMBRIZ-SALDANA,                            )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion of Michael D. Nelson to withdraw as
counsel for the defendant, Gustavo Ambriz-Saldana (Ambriz-Saldana) (Filing No. 20). A
hearing was held on the motion on May 11, 2005. Irene Tomassini, a certified interpreter in
the Spanish language, served as the interpreter by remote telephone hook-up. Following an
in camera discussion with Mr. Nelson and Ambriz-Saldana, the court finds the attorney-client
relationship has not been irretrievably broken, Mr. Nelson has handled the defense of Ambriz-
Saldana in a very competent and professional manner, and the motion to withdraw (Filing No.
20) is denied.
       IT IS SO ORDERED.
       DATED this 11th day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
